     Case 8:22-cv-02597-DKC                     Document 26-3                Filed 12/02/22              Page 1 of 1


From:              DeMarco, Pete
To:                Beltway
Subject:           Fw: Email service for Maryland Chapter of the Sierra Club v. Federal Highway Administration, 22-cv-2597 (D.Md)
Date:              Wednesday, October 26, 2022 10:06:46 AM




From: OAG - Civil Service <civil_service@oag.state.md.us>
Sent: Wednesday, October 26, 2022 9:24 AM
To: DeMarco, Pete <pdemarco@nrdc.org>; OAG - Civil Service <civil_service@oag.state.md.us>
Subject: RE: Email service for Maryland Chapter of the Sierra Club v. Federal Highway
Administration, 22-cv-2597 (D.Md)

Thank you, service is accepted.

Daniel Kobrin

From: DeMarco, Pete <pdemarco@nrdc.org>
Sent: Tuesday, October 25, 2022 4:08 PM
To: OAG - Civil Service <civil_service@oag.state.md.us>
Subject: Email service for Maryland Chapter of the Sierra Club v. Federal Highway Administration,
22-cv-2597 (D.Md)


   You don't often get email from pdemarco@nrdc.org. Learn why this is important

Good afternoon,

Attached please find the complaint in Maryland Chapter of the Sierra Club et al. v. Federal Highway
Administration et al., 22-cv-2597, filed in the U.S. District Court for the District of Maryland.
Defendants named in the complaint include the Maryland Department of Transportation and James
F. Ports, Jr., in his official capacity as Secretary of the Maryland Department of Transportation. Hard
copies were mailed to the addresses indicated in the attached summonses. Also attached to this
email please find corporate disclosure statements for each of the plaintiffs. Attorneys for the
plaintiffs have also filed pro hac vice motions that I can send along if useful.

Thanks,
Pete DeMarco
Attorney
Natural Resources Defense Council
1152 15th St., Suite 300
Washington, DC 20005
202-513-6267
